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RETURN OF SERVICE

UNITED STATES DISTRICT COURT
District of Florida

Case Number: 6:24-CV-00434-PGB-
DCI

Plaintiff:
ISABELLE FECCIA

vs.

Defendant:
BAKER BARRIOS ARCHITECTS, INC.

For:
Kyle MacDonald, Esq
F Derek Smith Law Group, Pllc

Received by DLE Process Servers, Inc on the 14th day of March, 2024 at 1:54 pm to be served on Baker
Barrios Architects, Inc. c/o Registered Agents Inc., 7901 4th St. N., Ste. 300, St. Petersburg, FL 33702.

|, Michele Carpintier, do hereby affirm that on the 15th day of March, 2024 at 11:16 am, I:

served a CORPORATION by delivering a true copy of the Summons in a Civil Action, Complaint and
Demand For Jury Trial, Civil Cover Sheet with the date and hour of service endorsed thereon by me, to:
Chloe Lowe as Admin Asst for Baker Barrios Architects, Inc., at the address of: 7901 4th St. N., Ste.
300, St. Petersburg, FL 33702, and informed said person of the contents therein, in compliance with
state statutes.

| certify that | am over the age of 18, have no interest in the above action, and am a Certified Process
Server, in good standing,in the judicial circuit in which the process was served.

Under penalties of perjury, | declare that | have read the foregoing Verified Return of Service and that the
facts stated are true. F.S. 92.525. NOTARY NOT REQUIRED PURSUANT TO F.S. 92.525

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APS 26478 if
f

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Case 6:24-cv-00434-PGB-DC! Document 4 Filed 03/01/24 Page 1 of 1 PagelD 38

AO 440 (Rev 06/12) Summons ina Civil Action i 4
UNITED STATES DISTRICT COURT A [ov
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Middle District of Florida i “| p
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ISABELLE FECCIA IM. .
, Plaintiffs) ) +26 4-76
v. Civil Action No. _ 6:24-cv-00434 -PGB-DCI
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)
BAKER BARRIOS ARCHITECTS, INC..
Defendant(s) )

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address)
BAKER BARRIOS ARCHITECTS, INC.
**REGISTERED AGENT**
REGISTERED AGENTS INC
7901 4TH ST N., STE 300
ST PETERSBURG, FL 33702

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed, R. Civ.
P12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:

DERERK SMITH LAW GROUP, PLLC
C/O KYLE T. MACDONALD, ESQ.

520 BRICKELL KEY DRIVE, SUITE O-301
MIAME, FL 33131

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date: Mar 01,2024 _

Signature of Clerk or Deputy Clerk
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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION
ISABELLE FECCIA,
Plaintiff, CASE NO.:
V. JURY TRIAL DEMANDED
BAKER BARRIOS ARCHITECTS, INC.,

Defendant.
/

COMPLAINT AND DEMAND FOR JURY TRIAL

Plaintiff, ISABELLE FECCIA (“Plaintiff’ and/or “Ms. Feccia”), by and
through her undersigned counsel, hereby complains of Defendant, BAKER
BARRIOS ARCHITECTS, INC. (“Defendant” and/or “BBA”), and alleges as

follows:

INTRODUCTION

1. This case involves a female employee who was unlawfully
discriminated against and retaliated against by her employer on the basis of
her pregnancy and sex.

2. Ms. Feccia brings this action against Defendant pursuant to Title
VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e (“Title VU”), the Florida
Civil Rights Act of 1992, § 760.01, Florida Statutes (“FCRA”), and the Family

and Medical Leave Act, 29 U.S.C. § 2612 (“FMLA”).
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PARTIES
3. Ms. Feccia is an individual female residing in Orange County,
Florida.
4, Defendant is a Florida Corporation with its principal place of

business located at 189 S. Orange Ave Suite 1700, Orlando, Florida 32801.

5. At all times material, Ms. Feccia was employed by Defendant.

6. The exact number of Defendant’s employees is unknown, but upon
information and belief, there are well more than the statutory minimum under
Title VII, the FCRA, and the FMLA.

7. At all times material, Defendant was an “employer” within the
meaning of 29 U.S.C. § 2611(4)(a) and within the meaning of 42 U.S.C. §
2000e(b).

8. At all times material, Ms. Feccia was an “eligible employee” of
Defendant within the meaning of 29 U.S.C. § 2611(2).

9. At all times material, Defendant was a “person” within the
meaning of § 760.02(6), Florida Statutes, and an “employer” within the
meaning of § 760.02(7), Florida Statutes.

JURISDICTION AND VENUE

10. This Court has jurisdiction over this matter pursuant to 28 U.S.C.
§§ 1831, 1867. This action is authorized and instituted pursuant to 42 U.S.C.

§ 2000e-5(f) and 29 U.S.C. § 2617(a).
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11. Venue is proper in this district pursuant to 28 U.S.C. §1391(b)
because the unlawful employment practices alleged below were committed
within the jurisdiction of the United States District Court for the Middle
District of Florida. The Defendant was and is still located in this judicial
district and a substantial part of the events or omissions giving rise to this
action, including the unlawful employment practices alleged herein, occurred
in this district.

ADMINISTRATIVE PREREQUISITES

12. Ms. Feccia has complied with all administrative requirements to
file this action.

13. On or around June 9, 2023, Ms. Feccia timely dual-filed a charge
of discrimination (Charge No. 510-2023-07642) against Defendant with the
Equal Employment Opportunity Commission (“EEOC”) and the Florida
Commission on Human Relations (““FCHR’).

14. On or around February 16, 2024, the EEOC issued Ms. Feccia’s
Notice of Right to Sue against Defendant.

15. Ms. Feccia is timely commencing this action within ninety (90)
days of receipt of the EEOC’s Notice of Right to Sue.

FACTUAL ALLEGATIONS

16. Inor around January 2020, Defendant hired Ms. Feccia as a Senior

Interior Designer.

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17. At all times material, Ms. Feccia was employed at Defendant’s
Orlando office, located at 189 S. Orange Avenue, Suite 1700, Orlando, Florida
32801.

18. Atall times material, Ms. Feccia was an individual female and had
recently given birth, and was therefore a protected class member.

19. At all times material, Ms. Feccia was considered an exceptional
employee and had a record of positive performance.

20. In or around 2022, Ms. Feccia learned she was pregnant and
informed Defendant of her intent to take maternity leave.

21. Ms. Feccia discussed her maternity leave with Lisa Couch
(“Couch”), an individual female employed by Defendant as a Human Resources
representative.

22. Ms. Feccia made arrangements with Couch to begin her leave in
December 2022, and to return to work in April 2028.

23. On or around December 12, 2022, Ms. Feccia began her pregnancy
leave.

24. Ms. Feccia was initially on paid leave, using both her PTO benefits
and short-term disability benefits.

25. On or around January 4, 2023, Ms. Feccia gave birth to her child.

26. In or around February 2023, Ms. Feccia had exhausted all of her

paid leave benefits and was transitioned to FMLA leave by Defendant.
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27. In or around March 2023, Ms. Feccia emailed Dietz asking if she
could return to work full time, working partially from home and partially from
the office.

28. Ms. Feccia was eager to return to work and believed it may help
ease the transition of her return. Dietz failed to respond to Ms. Feccia’s
request.

29. Ms. Feccia ultimately returned to work on or around April 8, 20238.

30. Upon her return, Ms. Feccia discovered that her work area was in
complete disarray, with construction materials on top of her desk and her
entire work area covered in dust from the nearby construction work.

31. Ms. Feccia:.was taken aback, as many of her coworkers would
receive warm welcomes when they returned from leave, often receiving flowers
on their desks.

32. It was clear to Ms. Feccia that Defendant was not expecting Ms.
Feccia to be returning to work.

33. Ms. Feccia complained about the condition of her desk to Jed Prest
(“Prest”), an individual male employed by Defendant as Managing Partner,
and Meghan Dietz (“Dietz”), an individual female employed by Respondent as
Design Operations Practice Leader.

34. Prest and Dietz held supervisory authority over Ms. Feccia,

including the power to hire, fire, demote, and promote Ms. Feccia.
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35.  Prest and Dietz largely ignored Ms. Feccia’s complaint, forcing her
to work from a temporary desk upon her return.

36. When Ms. Feccia returned to work, she asked Dietz if there were
any tasks she could assist with, as she was eager to begin working again.

37. Over the course of the next two weeks, Ms. Feccia was given just
two tasks to complete. Ms. Feccia felt uncomfortable and was unsure why she
was being assigned such little work.

38. On or around April 7, 2023, Ms. Feccia’s child became ill.

39. Ms. Feccia contacted Dietz and requested to work from home to
take care of him. Dietz granted Ms. Feccia’s request.

40. Ms. Feccia alsoireiterated to Dietz that she was willing to assist
with any work tasks that were available. Dietz said that she would get back to
Ms. Feccia.

41. That same day, Ms. Feccia also participated in a Design
Operations weekly meeting, where she also informed the group that she was
happy to help with any projects. Ultimately, no one from the group contacted
Ms. Feccia.

42. On or around April 10, 2023, Ms. Feccia messaged Dietz informing
her that Ms. Feccia’s son was still sick, and that the illness had spread to Ms.

Feccia, causing her to become sick too.
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43.  Inresponse Dietz, wished Ms. Feccia well but failed to provide Ms.
Feccia with any work assignments.

44, On or around April 12, 2023, Ms. Feccia and her child’s condition
worsened, making her feel extremely unwell.

45. Defendant employed a generous unlimited sick leave policy,
leading Ms. Feccia to believe that she could take the remainder of the week to
recover without issue.

46. Ms. Feccia used her sick leave benefits from April 12, 2028, to April
14, 2023, without any protest from her supervisors.

47. On or around Monday, April 17, 2028, Ms. Feccia received a
Microsoft Teams call from Prest.

48. On the call, Prest informed Ms. Feccia that she was being
terminated due to a “restructuring” of Ms. Feccia’s department.

49. When Ms. Feccia inquired as to why she was being terminated,
Prest stated that she was being terminated for “an alignment of profitability.”

50. Ms. Feccia was shocked and extremely upset. Ms. Feccia had just
returned to work from her maternity leave and felt that she had not been given
any meaningful opportunity to resume her work and contribute to the
organization.

51. During the call, Ms. Feccia even asked if she could work in another

role for Defendant. Prest flatly responded “no”, despite the fact that
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Defendant’s interior design team had plenty of work available and had plans
to promote two interior designers later in the month.

52. Ms. Feccia was devastated at the news of her termination but tried
her best to keep her composure.

53.  Onoraround April 17, 2023, Defendant unlawfully terminated Ms.
Feccia on the basis of her sex and pregnancy.

54. Defendant unlawfully discriminated against Ms. Feccia because of
her sex and pregnancy, and retaliated against Ms. Feccia for taking pregnancy
leave.

55. Defendant interfered with Ms. Feccia’s protected rights under the

FMLA and retaliated. against Ms. Feccia for exercising her FMLA leave sinied .

benefits.

56. The events described above are just some of the examples of
unlawful discrimination, retaliation, and interference to which Defendant
subjected Ms. Feccia throughout her employment.

57. Ms. Feccia claims a continuous practice of discrimination and
claims continuing violations and makes all claims herein under the continuing
violations doctrine.

58. Atalltimes material, Defendant’s employees were acting as agents

of Defendant in their unlawful treatment of Ms. Feccia.
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59. Atalltimes material, Defendant acted with deliberate indifference
to the unlawful treatment complained of herein.

60. As a result of Defendant’s actions, Ms. Feccia felt extremely
humiliated, degraded, victimized, embarrassed, and emotionally distressed.

61. Asa result of the acts and conduct complained herein, Ms. Feccia
has suffered and will continue to suffer the loss of income, the loss of salary,
bonuses, benefits, and other compensation which such employment entails,
and Ms. Feccia has also suffered future pecuniary losses, emotional pain,
humiliation, suffering, inconvenience, loss of enjoyment of life, and other non-
pecuniary losses. Ms. Feccia has further experienced severe emotional and
physical distress: . -

62. Defendant’s conduct has been malicious, willful, outrageous, and
conducted with full knowledge of the law, so as to support and justify an award
of punitive damages against Defendant.

63. Defendant is either directly or vicariously liable for the unlawful
conduct complained of herein.

CAUSES OF ACTION
COUNT I
42 U.S.C. § 2000e-2
Sex Discrimination

64. Ms. Feccia reincorporates the factual allegations in Paragraphs 16

through 68.
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65. Title VII provides, in relevant part, that “it shall be an unlawful
employment practice for an employer ...to discriminate against any individual
with respect to his compensation, terms, conditions, or privileges of
employment, because of his race, color, religion, sex, or national origin.” 42
U.S.C. § 2000e-2(a)(1).

66. Title VII further provides that “an unlawful employment practice
is established when the complaining party demonstrates that race, color,
religion, sex, or national origin was a motivating factor for any employment
practice, even though other factors also motivated the practice.” 42 U.S.C. §
2000e-2(m).

67. Title VII defines “because of sex” and “on the basis of sex” to's
include discrimination on the basis of “pregnancy, childbirth, or related
medical conditions” and requires that “women affected by pregnancy,
childbirth, or related medical conditions shall be treated the same for all
employment-related purposes.” 42 U.S.C. § 2000e(k).

68. Ms. Feccia was an individual female and was therefore a protected
class member.

69. The elements of a prima facie case of disparate treatment are
flexible and are tailored on a case-by-case basis to differing factual

circumstances.

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70. Defendant subjected Ms. Feccia to discriminatory treatment on the
basis of her sex, including but not limited to, unlawfully terminating Ms.
Feccia’s employment.

71. Defendant targeted Ms. Feccia because she had recently given
birth and because she exercised her maternity leave benefits. No similarly
situated male employees endured the discriminatory conduct that Ms. Feccia
was forced to endure.

72. The discriminatory actions of the Defendant against Ms. Feccia, as
described and set forth above, constitute an adverse employment action for the
purposes of Title VII. In subjecting Ms. Feccia to adverse employment actions,
the Defendant intentionally discriminated against Ms. Feccia with respectito::
the compensation, terms, conditions, or privileges of her employment.

73. As a direct and proximate result of the Defendant’s intentional
discriminatory conduct in violation of Title VII, Ms. Feccia has suffered and
will continue to suffer financial and economic damages in the form of lost wages
(front and back pay) and lost benefits. Ms. Feccia has also suffered and will
continue to suffer emotional distress, mental anguish, loss of dignity, and other
intangible damages Ms. Feccia accordingly demands lost economic damages,
lost wages, back pay, interest, front pay, the value and/or economic impact of

lost benefits, and compensatory damages.

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74.  Defendant’s actions were knowing, intentional, willful, malicious,
and in reckless disregard of Ms. Feccia’s rights under Title VII. warranting the
imposition of punitive damages, in addition to compensatory damages.

75. The conduct of the Defendant deprived Ms. Feccia of her statutory
rights guaranteed under Title VII.

76. Ms. Feccia further requests that her attorney’s fees and costs be

awarded as permitted by law.

COUNT I
42 U.S.C. § 2000e-3
Retaliation

77. Ms. Feccia reincorporates the factual allegations in Paragraphs 16
through 63:

78. Title VII prohibits retaliation in any manner against a person who
has opposed a discriminatory practice, or who has participated in any
investigation, proceeding or hearing related to an unlawful discriminatory
practice. 42 U.S.C. § 2000e-3(a).

79. Ms. Feccia was an individual female and was therefore a protected
class member.

80. Ms. Feccia engaged in a protected activity when she informed

Defendant of her pregnancy and exercised her maternity leave benefits.

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81. In response to Ms. Feccia asserting her right to enjoy the same
employment benefits as every other employee, the Defendant retalated
against Ms. Feccia.

82. Defendant retaliated against Ms. Feccia by engaging in conduct,
including but not limited to, unlawfully terminating Ms. Feccia’s employment.

83. Defendant took the above-mentioned materially adverse actions,
among others, against Ms. Feccia because of her protected activities.

84. Any reasonable employee in Ms. Feccia’s position would be
dissuaded from opposing discriminatory conduct if they knew that they would
be subjected to the kind of treatment that Ms. Feccia was forced to endure.

2 85. Defendant’s alleged bases for its adverse employment:-actions
against Ms. Feccia are pretextual and have been asserted only to cover up the
retaliatory nature of Defendant’s conduct.

86. As a direct and proximate result of the Defendant’s retaliatory
conduct in violation of the Title VII, Ms. Feccia has suffered and will continue
to suffer financial and economic damages in the form of lost wages (front and
back pay) and lost benefits. Ms. Feccia has also suffered and will continue to
suffer emotional distress, mental anguish, loss of dignity, and other intangible
damages Ms. Feccia accordingly demands lost economic damages, lost wages,
back pay, interest, front pay, the value and/or economic impact of lost benefits,

and compensatory damages.

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87.  Defendant’s actions were knowing, intentional, willful, malicious,
and in reckless disregard of the Ms. Feccia’s rights under Title VH, warranting
the imposition of punitive damages in addition to compensatory damages.

88. The conduct of the Defendant deprived Ms. Feccia of her statutory
rights guaranteed under Title VII.

89. Ms. Feccia further requests that her attorney’s fees and costs be

awarded as permitted by law.

COUNT Il
§ 760.10(1), Fla. Stat.
Sex Discrimination

90. Ms. Feccia reincorporates the factual allegations in Paragraphs 16
through 63. OAYODL:

91. The FCRA prohibits employment discrimination in an individual’s
terms, conditions, and privileges of employment because of the individual’s sex
or pregnancy. § 760.10(1)(a), Fla. Stat.

92. Ms. Feccia was an individual female and was therefore a protected
class member.

93. The elements of a prima facie case of disparate treatment are

flexible and are tailored on a case-by-case basis to differing factual

circumstances.

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94. Defendant subjected Ms. Feccia to discriminatory treatment on the
basis of her sex, including but not limited to, unlawfully terminating Ms.
Feccia’s employment.

95. Defendant targeted Ms. Feccia because she had recently given
birth and because she exercised her maternity leave benefits. No similarly
situated male employees endured the discriminatory conduct that Ms. Feccia
was forced to endure.

96. The discriminatory actions of the Defendant against Ms. Feccia, as
described and set forth above, constitute an adverse employment action for
purposes of the FCRA. In subjecting Ms. Feccia to adverse employment

actions, the Defendant intentionally discriminated against Ms: Feccia with
respect to the compensation, terms, conditions, or privileges of her
employment.

97. Asa direct and proximate result of the Defendant’s intentional
discriminatory conduct in violation of the FCRA, Ms. Feccia has suffered and
will continue to suffer financial and economic damages in the form of lost wages
(front and back pay) and lost benefits. Ms. Feccia has also suffered and will
continue to suffer emotional distress, mental anguish, loss of dignity, and other
intangible damages Ms. Feccia accordingly demands lost economic damages,
lost wages, back pay, interest, front pay, the value and/or economic impact of

lost benefits, and compensatory damages.

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98. Defendant’s actions were knowing, intentional, willful, malicious,
and in reckless disregard of Ms. Feccia’s rights under the FCRA, warranting
the imposition of punitive damages in addition to compensatory damages.

99. The conduct of the Defendant deprived Ms. Feccia of her statutory
rights guaranteed under the FCRA.

100. Ms. Feccia further requests that her attorney’s fees and costs be

awarded as permitted by law.

COUNT IV
§ 760.10(7), Fla. Stat.
Retaliation
101. Ms. Feccia reincorporates the factual allegations in Paragraphs 16
‘is through 68. ths
102. The FCRA prohibits retaliation in any manner against a person
who has opposed a discriminatory practice, or who has participated in any
investigation, proceeding or hearing related to an unlawful discriminatory
practice. § 760.10(7), Fla. Stat.
108. Ms. Feccia was an individual female and was therefore a protected
class member.

104. Ms. Feccia engaged in a protected activity when she informed

Defendant of her pregnancy and exercised her maternity leave benefits.

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105. In response to Ms. Feccia asserting her right to enjoy the same
employment benefits as every other employee, the Defendant retaliated
against Ms. Feccia.

106. Defendant retaliated against Ms. Feccia by engaging in conduct,
including but not limited to, unlawfully terminating Ms. Feccia’s employment.

107. Defendant took the above-mentioned materially adverse actions,
among others, against Ms. Feccia because of her protected activities.

108. Any reasonable employee in Ms. Feccia’s position would be
dissuaded from opposing discriminatory conduct if they knew that they would
be subjected to the kind of treatment that Ms. Feccia was forced to endure.

109. Defendant’s alleged bases for its adverse employment actions
against Ms. Feccia are pretextual and have been asserted only to cover up the
retaliatory nature of Defendant’s conduct.

110. As a direct and proximate result of the Defendant’s retahatory
conduct in violation of the FCRA, Ms. Feccia has suffered and will continue to
suffer financial and economic damages in the form of lost wages (front and back
pay) and lost benefits. Ms. Feccia has also suffered and will continue to suffer
emotional distress, mental anguish, loss of dignity, and other intangible
damages Ms. Feccia accordingly demands lost economic damages, lost wages,
back pay, interest, front pay, the value and/or economic impact of lost benefits,

and compensatory damages.

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111. Defendant’s actions were knowing, intentional, willful, malicious,
and in reckless disregard of the Ms. Feccia’s rights under the FCRA,
warranting the imposition of punitive damages in addition to compensatory
damages.

112. The conduct of the Defendant deprived Ms. Feccia of her statutory
rights guaranteed under the FCRA.

1138. Ms. Feccia further requests that her attorney’s fees and costs be

awarded as permitted by law.

COUNT V
29 U.S.C. § 2615
FMLA Retaliation

114. Ms. Feccia reincorporates the factual allegations in Paragraphs 16
through 63.

115. The FMLA prohibits employers from retaliating against an
employee in any manner for having exercised or attempted to exercise
protected rights under the FMLA or using the taking of FMLA leave as a
negative factor in employment actions. 29 C.F.R. § 825.220(c).

116. The FMLA prohibits employers from retaliating against an
employee in any manner for opposing or complaining about any unlawful
practice under the FMLA. 29 C.F.R. § 825.220(a)(2).

117. By nature of Ms. Feccia’s employment with Defendant, Ms. Feccia

was an eligible employee and was entitled to leave benefits under the FMLA.

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118. Ms. Feccia was entitled to FMLA leave for her pregnancy and for
the 12-month period following the birth of her child. 29 C.F.R. § 825.120.

119. Defendant was on notice of Ms. Feccia’s entitlement to FMLA
leave.

120. Ms. Feccia engaged in a protected activity when she exercised
and/or attempted to exercise her right to leave benefits under the FMLA in or
around February of 20238.

121. Ms. Feccia acted in good faith and with the objective and subjective
belief that she was entitled to leave benefits under the FMLA.

122. Defendant retaliated against Ms. Feccia by engaging in conduct,
including but not limited to, unlawfully terminating Ms. Feccia’s employment.

123. Defendant took the above-mentioned materially adverse actions,
among others, against Ms. Feccia because of her protected activities.

124. Any reasonable employee in Ms. Feccia’s position would be
dissuaded from opposing unlawful conduct if they knew they would be
subjected to the same kind of treatment that Ms. Feccia was subjected to.

125. Defendant’s alleged bases for its adverse employment actions
against Ms. Feccia are pretextual and have been asserted only to cover up the
retaliatory nature of the Defendant’s conduct.

126. As a result of Defendant’s unlawful conduct, Ms. Feccia has

suffered and will continue to suffer financial and economic damages in the form

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of lost wages (front and back pay) and lost benefits. Ms. Feccia has also suffered
and will continue to suffer emotional distress, mental anguish, loss of dignity,
and other intangible damages. Ms. Feccia accordingly demands lost economic
damages, lost wages, back pay, interest, front pay, the value and/or economic
impact of lost benefits, and compensatory damages.

127. The conduct of the Defendant deprived Ms. Facia of her statutory
rights guaranteed under the FMLA.

128. Ms. Feccia further requests that her attorney’s fees and costs be

awarded as permitted by law.

COUNT VI
29 U.S.C. § 2615
FMLA Interference: .

129. Ms. Feccia reincorporates the factual allegations in Paragraphs 16
through 68.

1380. The FMLA prohibits employers from interfering with, restraining,
or denying the exercise or attempted exercise of any right protected by the
FMLA. 29 U.S.C. § 2615(a).

181. By nature of Ms. Feccia’s employment with Defendant, Ms. Feccia
was an eligible employee and was entitled to leave benefits under the FMLA.

182. Ms. Feccia was entitled to FMLA leave for her pregnancy and for

the 12-month period following the birth of her child. 29 C.F.R. § 825.120.

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133. Defendant was on notice of Ms. Feccia’s entitlement to FMLA
leave.

134. In or around February of 2028, Ms. Feccia exercised and/or
attempted to exercise her right to leave benefits under the FMLA.

185. As an eligible employee under the FMLA, Ms. Feccia was entitled
to be restored to her position of employment held when her leave commenced,
or be restored to an equivalent position with equivalent employment benefits,
pay, and other terms and conditions of employment. 29 U.S.C. § 2614(a).

136. Defendant unlawfully terminated Ms. Feccia upon her return from
FMLA leave.

137. Defendant violated the FMLA by unlawfully interfering,
restraining, and denying Ms. Feccia’s rights under the FMLA, including but
not limited to, interfering with and denying Ms. Feccia’s right to be restored to
her former employment position or an equivalent position with equivalent
terms and conditions of employment.

138. As a result of Defendant’s unlawful conduct, Ms. Feccia has
suffered and will continue to suffer financial and economic damages in the form
of lost wages (front and back pay) and lost benefits. Ms. Feccia has also suffered
and will continue to suffer emotional distress, mental anguish, loss of dignity,

and other intangible damages. Ms. Feccia accordingly demands lost economic

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damages, lost wages, back pay, interest, front pay, the value and/or economic
impact of lost benefits, and compensatory damages.

189. The conduct of the Defendant deprived Ms. Feccia of her statutory
rights guaranteed under the FMLA.

140. Ms. Feccia further requests that her attorney’s fees and costs be
awarded as permitted by law.

JURY DEMAND

Plaintiff requests a jury trial on all issues to be tried.

PRAYER FOR RELIEF

WHEREFORE, Plaintiff respectfully requests this Court enter
judgment against Defendant for all: damages suffered by the Plaintiff,
including economic damages, lost wages (back pay and front pay) and benefits,
liquidated damages, statutory damages, compensatory damages, emotional
distress damages, interest, attorney’s fees and costs, disbursements of action,
and any other remedies (monetary and/or equitable) allowable by law as a
result of the Defendant’s conduct in violation of Title VII, the FCRA, and the

FMLA.

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Dated: Miami, Florida DEREK SMITH LAW GROUP, PLLC
February 29, 2024, Counsel for Plaintiff

/s/ Kyle T. MacDonald

Kyle T. MacDonald, Esq.

Florida Bar No.: 1038749

Derek Smith Law Group, PLLC
520 Brickell Key Drive, Suite O-301
Miami, FL 331381

Tel: (805) 946-1884
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provided by Jocal rules of court

us form, approved by the Judicial Conterence of the United States in September 1974. is required for the use of the Clerk of Court for the

a of initiating the civil docket sheet. SEE INSTRUCTIONS ON NENT PAGE OF THHS FORAL)

[. (a) PLAINTIFFS —

ISABELLE FECC

(b) County of Residence of First Listed Plaintiff County of Residence of Fir
(ENCED LIN ES PLAINTIFE CASTES) UNE

1A

DEFENDANTS
BAKER BARRIOS ARCHITECTS, INC.

Listed Defendant ORANGE COUNTY
S PEAINTIEE CASES ONLY)
NOTE: INLAND CONDEMNAFTION CASES, USE THE LOCATION OF

THE TRACT OF LAND INVOLVED

(c) Attorneys (Firm Name. tdedress, and Telephone Number) Attorneys (/f Known)

DEREK SMITH LAW GROUP. PLLC - C/O KYLE T. MACDONALD. ESQ.

520 BRICKELL KEY DRIVE.

SUITE 0-301, MIAMI, FL 33131

(305) 946-1884
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130 Miller Act 315 Airplane Product Product Liability | | 690 Other 28 USC 157 3729(a))
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160 Stockholders’ Suits
190 Other Contract
195 Contract Product Liability
196 Franchise

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VI. CAUSE OF ACTION

Cite the U.S. Civil Statute under which you are filing (De not cite jurisdictional statutes unless diversity):

42 U.S.C. § 2000e, § 760.01, 29 U.S.C. § 26

Brief description of cause:
Title VII of the Civil Rights Act of 1964, the Florida Civil Rights Act of 1992, the Family and Medical Leave Act

VH. REQUESTED IN {_] CHECK IF THIS 1S A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: [IXlYes []No
VHI. RELATED CASE(S)
(See instructions):
IF ANY ee mse GE DOCKET NUMBER
DATE SIGNATURE OF ATTORNEY OF RECORD
2/29/24

FOR OFFICE USE ONLY

RECEIPT # AMOUNT APPLYING IFP JUDGE MAG, JUDGE

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